         Case 3:10-cv-01903-RNC Document 7 Filed 02/16/11 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

_____________________________________
LEANNE CONNOLLY                       )                CIVIL ACTION
     Plaintiff                        )                3:10-CV-01903-RNC
                                      )
v.                                    )
                                      )
ASSET ACCEPTANCE, LLC d/b/a           )
ASSET ACCEPTANCE                      )
CAPITAL CORPORATION                   )
     Defendant                        )
_____________________________________ )                FEBRUARY 16, 2011


                      NOTICE OF DISMISSAL WITH PREJUDICE

      Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A(i), the plaintiff, Leanne Connolly,

through her attorney, hereby give notice that the claims of the above-entitled action

shall be dismissed with prejudice, and without costs or attorney’s fees.



                                           PLAINTIFF, LEANNE CONNOLLY



                                         By: /s/Daniel S. Blinn_______________
                                            Daniel S. Blinn, Fed Bar No. ct02188
                                            Matthew W. Graeber, Fed Bar No. ct27545
                                            dblinn@consumerlawgroup.com
                                            Consumer Law Group, LLC
                                            35 Cold Spring Rd., Suite 512
                                            Rocky Hill, CT 06067
                                            Tel. (860) 571-0408; Fax (860) 571-7457




                                            1
          Case 3:10-cv-01903-RNC Document 7 Filed 02/16/11 Page 2 of 2



                                      CERTIFICATION

       I hereby certify that on this 16th day of February, 2011, a copy of foregoing
Notice of Dismissal was filed electronically and served by mail on anyone unable
to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.


                                              /s/Daniel S. Blinn
                                              Daniel S. Blinn




                                               2
